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                                                                                                                        RXT / ALL
                                                                                                     Transmittal Number: 17424810
Notice of Service of Process                                                                            Date Processed: 11/21/2017

Primary Contact:           Richell Mintzlaff MC5003-1001
                           The Boeing Company
                           100 N Riverside
                           Chicago, IL 60606-1596

Electronic copy provided to:                   Cynthia Pearson

Entity:                                       The Boeing Company
                                              Entity ID Number 1901768
Entity Served:                                The Boeing Company
Title of Action:                              James Edward Moore vs. Curtiss-Wright Corporation
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Asbestos
Court/Agency:                                 Newport News Circuit Court, Virginia
Case/Reference No:                            700CL1703995M-03
Jurisdiction Served:                          Virginia
Date Served on CSC:                           11/21/2017
Answer or Appearance Due:                     21 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Erin E. Jewell
                                              757-223-4500

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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                               COMMONWEALTH OF VIRGINIA




                                       NEWPORT NEWS CIRCUIT COURT
                                                Civil Division
                                         2500 WASHINGTON AVENUE
                                         NEWPORT NEWS VA 23607
                                               (757) 926-8356
                                                 Summons


         To: THE BOEING COMPANY                                          Case No. 700CL1703995M-03
             CT CORPORATION SYSTEM
             REG AGENT
              1111 EAST MAIN STREET
             16TH FLOOR
             RICHMOND VA 23219
 -       The party upon whom this summons and the attached complaint are served is hereby notified
         that unless within 21 days after such service, response is made by filing in the clerk's office
         of this court a pleading in writing, in proper legal form, the allegations and charges may be
         taken as admitted and the court may enter an order, judgment, or decree against such party
         either by default or after hearing evidence.
         Appearance in person is not required by this summons.

          Done in the name of the Commonwealth of Virginia on,Wednesday, November 15, 2017

          Clerk of Court: GARY S ANDERSON

                                  b)

     Instructions:



Hearing Official:




                     PATTEN WORNOM HATTEN
Attorney's name:     12350 JEFFERSON AVE, STE 300
                     757-223-4500
                     NEWPORT NEWS VA 23602
       Case 4:17-cv-00144-AWA-LRL Document 1-1 Filed 12/14/17 Page 3 of 36 PageID# 16
Uploaded: 2017NOV08 10:31 Filed By:JBLAYLOCK on behalf of Bar# 45447 WHARTY Reference: EF-31926
E-Filed: 2017NOV08 NEWPORT NEWS CC KEDWARDS at 2017NOV08 10:53 CL1 703995M-03




           VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF NIEWPORT NEWS,

           JAMES EDWARD MOORE

                                    Plaintiff.

           V.                                                   CIVIL ACTION NO.:

           CURTISS-WRIGHT CORPORATION
           c/o The Corporation 1rust Company
           1209 Orange Street
           Wilmington, DE 19801
           SERVE:        Secretary of the Commonwealth.
                         Patrick Henry Building, 4th F166r
                         I I I I East Broad Street
                         Richmond, VA 2321.9

          DANA COMPANIES, LLC
          900 W ' South Bound;Ary-St.
          Pen-ysburg, OH 43551-5244
          SERVE:         Secretary of the Conunonwealth
                         Patrick I-lenry Building, 4th Floor
                         1111 East Broad Street
                         Richmond, VA 23219

          EATON CORPORATION
          Parent of Eaton Aeroquip LLC f/k/a Eaton Aeroquip Corp
          I I I I Superior. Ave.
          Attn: Tax Dept.
          Cleveland, OH 4411.4
          SERVE:            CT CORPORA-TION SYSTEM
                            REGISTERED AGENT
                            4701 Cox Road, Suite 285
                            Glen Allen, VA 23060

          HAJOCA CORPORATION
          127 Coulter Avenue
          Ardmore, PA 19003
          SERVE:        CORPORATION SERVICE COMPANY
                        REGISTERED AGENT
                        I 11, 1 East Main Street
                        Richmond, VA 23219
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                                                      .
    HENKEL CORPORATION
    Individually and as successor-iri-interest to certain assets of the former
    -DEXTER 2 CORPORATION and DEXTER HYSOL AEROSPACE, L.L.C.
    f/k/a DEXTER HYSOL AEROSPACE, INC.
    200 Elm Street
    Stamford, CT 06902-3800
    SERVE:         CORPORATION SERVICE COMPANY
                   REGISTERED AGENT
                   1111 East Main Street
                   Richmond, VA 23219

    HONEYWELL INTERNATIONAL, INC.                                                         l
    101 Columbia-Road
    PO Box 1057
    Morristown, NJ 07962
    SERVE:       CORPORATION SERVICE COMPANY
                 REGISTERED AGENT
                 1111 East Main St., 16'h Floor
                 Richmond, VA 23219

~   IMO INDUSTRIES, INC.
    Iindividually and as successor-in-interest, parent, alter ego, and equitable trustee to
    ADEL WIGGINS, ADEL FASTENERS, and WIGGINS CONNECTORS
    200 American Metro Blvd., Ste. 111
    Hamilton, NJ 08619
    SERVE:         CT CORPORATION SYSTEM
                   REGISTERED AGENT
                   4701 Cox Road, Suite 285
                   Glen Allen, VA 23060

    MEGGITT AIRCRAFT SYSTEMS CORPORATION
    Individually and as successor and/or parent to
    AIRCRAFT BRAKING SYSTEMS CORPORATION
    and AIRCRAFT BRAKING CORPORATION
    1204 Massillon Road
    Akron, OH 44306-4188
    SERVE:         Secretary of the Commonwealth
                   Patrick Henry Building, 4`h Floor
                   1111 East Broad Street
                   Richmond, VA 23219




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  METROPOLITAN LIFE INSURANCE COMPANY
  1095 Avenue of the Americas
  New York, NY 10036-6796
  SERVE:       CT CORPORATION SYSTEM
               REGISTERED AGENT
               4701 Cox Road, Suite 285
               Glen Allen, VA 23060

   NOLAND COMPANY
   3110 Ketterling Blvd.
   Dayton, OH 45439
   SERVE:        CORPORATION SERVICE COMPANY
                 REGISTERED AGENT
                 1111 East Main St., 16th Floor
                 Richmond, VA 23219

   PARKER-HANNIFIN CORPORATION
   6035 Parkland Blvd.
   Corporate Tax Department
   Cleveland, OH 44124
- SERVE:         CT CORPORATION SYSTEM
                 REGISTERED AGENT
                 4701 Cox Road, Suite 285
                 Glen Allen, VA 23060

  PNEUMO ABEX LLC
  Successor to ABEX CORPORATION
  Third Street & Jefferson Avenue
  Camden, NJ 08104
  SERVE:         Secretary of the Commonwealth
                 Patrick Henry Building, 4th Floor
                 1111 East Broad Street
                 Richmond, VA 23219

  R. E. MICHEL COMPANY, INC.
  One R. E. Michel Drive
  Glen Burnie, MD 21060
  SERVE:        CT CORPORATION SYSTEM
                REGISTERED AGENT
                4701 Cox Road, Suite 285
                Glen Allen, VA 23060




                                                 ~
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    THE BOEING COMPANY,
    Individually and as Successor in Interest to
    McDonnell Douglas Corporation and Boeing North American, Inc.
    100 N. Riverside
    Chicago, IL 60606
    SERVE:         CORPORATION SERVICE COMPANY
                   REGISTERED AGENT
                   1111 East Main St., 16th Floor
                   Richmond, VA 23219

    THE GOODYEAR TIRE & RUBBER COMPANY
    1144 E. Market Street
    Akron, OH 44316
    SERVE:       CORPORATION SERVICE COMPANY
                 REGISTERED AGENT
                 1111 East Main St., 16th Floor
                 Richmond, VA 23219

    UNION CARBIDE CORPORATION
    a subsidiary of The Dow Chemical Company
    7501 State Highway 185 N
    Seadrift, TX 77983
    SERVE:          CT CORPORATION SYSTEM
`                   REGISTERED AGENT
                    4701 Cox Road, Suite 285
                    Glen Allen, Virginia 23060

    UNITED TECHNOLOGIES CORPORATION
    Individually and d/b/a PRATT & WHITNEY CO., INC.
    Individually and d/b/a UTC AEROSPACE SYSTEMS
    10 Farm Springs Road
    Farmington, CT 060632
    SERVE:         CT CORPORATION
                   REGISTERED AGENT
                   4701 Cox Road, Suite 285
                   Glen Allen, VA 23060

    WACO, INC.
    5450 Lewis Road
    Sandston, VA 23150
    SERVE:       DANIEL M. WALKER
                 REGISTERED AGENT
                 5450 Lewis Road
                 Sandston, VA 23150




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WYETH HOLDINGS CORPORATION
As successor in interest to AMERICAN CYANAMID COMPANY
Five Giralda Farms
Madison, NJ 07940
SERVE:         CT CORPORATION
               REGISTERED AGENT
               4701 Cox Road, Suite 301
               Glen Allen, VA 23060

                  Defendants.
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                                             COMPLAINT

          NOW COMES JAMES EDWARD MOORE, a resident of the State of South Carolina,

   alleges as follows:

          1.      This action is subject to the Standing Orders entered in the Circuit Court for the

   City of Newport News in regards to asbestos cases filed by the firm of Patten, Wornom, Hatten

   & Diamonstein, L.C.

          - 2.    As used hereafter, the term "asbestos-containing product" will be used to identify

   collectively: (i) raw asbestos fiber, (ii) end products directly incorporating asbestos fiber, and

   (iii) end products manufactured, assembled or supplied by a defendant who has specified and/or

   required raw asbestos and/or products incorporating asbestos manufactured or supplied by

- others, to be used, whether internally or externally, in conjunction with the end product for the

   routine maintenance, repair, and/or proper and intended use and operation of the end product.

          3.      The Plaintiff JAMES EDWARD MOORE was born in 1936.

          4.      The Plaintiff JAMES EDWARD MOORE served in the United States Air Force

   from 1954 to 1982, including at Langley Air Force Base in Virginia, in various capacities related

   to the maintenance, repair and operation of military aircraft, including but not limited to aircraft

   mechanic, assistant crew chief, crew chief, maintenance crew chief, flight line supervisor, flight

   engineer and flight engineer tech. It is believed that JAMES EDWARD MOORE was exposed

   to asbestos dust, fibers and/or particles during this employment.

           5.     On or about February 17, 2017, JAMES EDWARD MOORE was diagnosed with

   malignant mesothelioma, a terminal cancer caused by his exposure to asbestos dust, fibers,

   and/or particles.

          6.      The Defendants are corporations, companies or other business entities which,

   during all times material hereto, and for a long time prior thereto, have been, and/or are now


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    engaged, directly or indirectly, in the manufacturing, producing, selling, merchandising,

    supplying, distributing, incorporating, and/or otherwise placing in the stream of commerce,

    asbestos products and/or products whose sole purpose is to cut, score and/or grind asbestos-

    containing products. Courts of the Commonwealth of Virginia have personal jurisdiction over

    all Defendants.

           7.      At all times material hereto, Defendants acted through their agents, servants or

    employees who were acting within the scope of their employment on the business of the

    Defendants.

           8.      At all times material hereto:

                   (a).      Defendant, CURTISS-WRIGHT, a Delaware corporation, manufactured,

I   produced, distributed, sold and/or supplied, either directly or indirectly, to the Plaintiff, to the

    Plaintiff's employer, and/or to others for use on the jobsite where Plaintiff performed his job

    duties, asbestos-containing products, including, without limitation, aircraft engines and/or

    associated systems which incorporated and/or required the use of asbestos-containing products

    including, without limitation, asbestos-containing gaskets and/or packing.

                      (b).   Defendant, DANA COMPANIES, LLC, an Ohio company, and as

    successor to the former DANA CORPORATION which was the successor in liability to Smith &

    Kanzler and through Dana's Victor Prodrict Division, both manufactured, produced, distributed,

    sold and/or supplied, either directly or indirectly through its predecessor corporation, to the

    Plaintiff, the Plaintiff s employer, and/or to others for use on the jobsite where Plaintiff /

    performed his job duties, asbestos-containing products including, without limitation, asbestos-

    containing gaskets.

                      (c).   Defendant, EATON CORPORATION, as parent to EATON AEROQUIP

    LLC, f/k/a Eaton Aeroquip Corp., and an Ohio corporation, manufactured, produced, distributed,

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    sold and/or supplied, either directly or indirectly, to the Plaintiff, to the Plaintiff's employer,

    and/or to others for use on the jobsite where Plaintiff performed his job duties, asbestos-

    containing products, including, without limitation, electrical equipment and/or components

    which by their design required the use of asbestos containing products. This Defendant also

    incorporated, specified, required or reasonably foresaw that its equipment would be insulated

    with asbestos-containing materials on theit exterior.

                   (d).    Defendant, HAJOCA CORPORATION, a Maine corporation sold,

    distributed and/or supplied, either directly or indirectly, to the Plaintiff, to the Plaintiff's

    employer, and/or to others for use on the jobsite where Plaintiff performed his job duties,

    asbestos-containing products including, without limitation, pipecovering sections, block, cement

-   and textiles manufactured by different companies.

                   (e).    Defendant HENKEL CORPORATION, a Delaware corporation,

    individually and as successor in to certain assets of the former DEXTER 2 CORPORATION and

    DEXTER HYSOL AEROSPACE, L.L.C. f/k/a DEXTER HYSOL AEROSPACE, INC.,

    manufactured and sold, either directly or indirectly, to the Plaintiff, to the Plaintiff's employer,

    and/or to others for use on the jobsite where Plaintiff performed his job duties, asbestos-

    containing products including, without limitation, adhesives, epoxies, sealants and/or other

    asbestos-containing products.



                   (f).    Defendant, HONEYWELL INTERNATIONAL INC., successor to

    ALLIED-SIGNAL, INC., formerly ALLIED CORPORATION (as successor in interest to

    BENDIX CORPORATION), a Delaware Corporation, manufactured and sold, either directly or

    indirectly, to the Plaintiff, to the Plaintiff's employer, and/or to others for use on the jobsite

    where Plaintiff performed his job duties, asbestos-containing products including, without

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  limitation, brake pads, brake . linings, brake assemblies, and/or other asbestos-containing

  products.

                 (g). Defendant, IMO INDUSTRIES, INC., a Delaware corporation,

  individually and as successor-in-interest, parent, alter ego, and equitable trustee to ADEL

  WIGGINS, ADEL FASTENERS, and WIGGINS CONNECTORS, manufactured, specified,

  produced, distributed and/or sold, either directly or indirectly, to the Plaintiff, to the Plaintiff's

  employer, and/or to others for use on the jobsite where Plaintiff performed his job duties,

  asbestos-containing products including, without limitation, fasteners and/or connectors, repair

  and/or replacement material including asbestos-containing packing.

                   (h). Defendant, MEGGITT AIRCRAFT BRAKING SYSTEMS

- CORPORATION, an Ohio corporation and successor and/or parent to AIRCRAFT BRAKING

  SYSTEMS CORPORATION and AIRCRAFT BRAKING CORPORATION, manufactured,

  specified, produced, distributed and/or sold, either directly or indirectly, to the Plaintiff, to the

  Plaintiff's employer, and/or to others for use on the jobsite where Plaintiff performed his job

  duties, asbestos-containing products including, without limitation, brakes system components

  including but not limited to anti-skid brakes and systems and hydraulic brakes, landing gear

  components, brake temperature sensors, main and nose wheels, wheel speed transducers, various

  monitoring units, and/or repair and/or replacement materials which by their design required the

  use of asbestos containing products.

                  (i). Defendant, METROPOLITAN LIFE INSURANCE COMPANY, a New

  York corporation authorized to do business in the Commonwealth of Virginia, has its principal

  place of business at 1 Madison Avenue, New York, New York 10010. This defendant did not

  manufacture, sell or distribute asbestos-containing products, but this defendant acted in

  conspiracy with other defendants as set forth below in Count III.


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               (j).     Defendant, NOLAND COMPANY, a Virginia corporation, sold,

distributed and/or supplied, either directly or indirectly, to the Plaintiff, to the Plaintiff's

employer, and/or to others for use on the jobsite where Plaintiff performed his job duties,

asbestos-containing products including, without limitation, pipecovering sections, block, cement

and/or textiles manufactured by different companies.

               (k). Defendant, PARKER-HANNIFIN CORPORATION, an Ohio

Corporation, manufactured, specified, produced, distributed and/or sold, either directly or

indirectly, to the Plaintiff, to the Plaintiff's employer, and/or to others for use on the jobsite

where Plaintiff performed his job duties, without limitation, brake pads, brake assemblies, and/or

other asbestos-containing products.

               (1). Defendant, PNEUMO ABEX LLC, successor to ABEX CORPORATION,

was the exclusive manufacturer of asbestos-containing brake products sold by the National Auto

Parts Association (NAPA) through its affiliated stores and thereby sold directly or indirectly to

the Plaintiff, to the Plaintiff's employer, and/or to others for use on the jobsite where Plaintiff

performed his job duties, without limitation, brake pads, brake assemblies, and/or other asbestos-

containing products.

               (m).    Defendant, R. E. MICHEL COMPANY, INC., a Maryland corporation,

sold, distributed and/or supplied, either directly or indirectly, to the Plaintiff, to the Plaintiff's

employer, and/or to others for use on the jobsite where Plaintiff performed his job duties, various

asbestos-containing products as that term is defined above including, without limitation,

cements, asbestos-co~ntaining packing as defined above, insulation and/or refractory products

manufactured by various companies.

                (n).   Defendant, THE BOEING COMPANY, a Delaware corporation,

individually and as successor in interest to McDonnell Douglas Corporation and Boeing North

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American, Inc., manufactured, produced, distributed, sold and/or supplied, either directly or

indirectly, to the Plaintiff, to the Plaintiff's employer, and/or to others for use on the jobsite

where Plaintiff performed his job duties, aircraft and/or. associated aircraft systems which

incorporated and/or required the use of asbestos-containing products including, without

limitation, asbestos-containing gaskets, brakes, clutches, clamps, landing gear, adhesives &

epoxier, sealants, heat shields, insulation. arid/or packing.

                (o).    Defendant, THE GOODYEAR TIRE & RUBBER COMPANY, an Ohio

corporation, manufactured, produced, sold, distributed, and/or supplied, either directly or

indirectly, to the Plaintiff, to the Plaintiff's employer, and/or to others for use on the jobsite

where Plaintiff performed his job duties, asbestos-containing products including, without

limitation, brake pads, brake assemblies, and/or other asbestos-containing products.

                (p).    Defendant, UNION CARBIDE CORPORATION, a New York

corporation, manufactured, produced, distributed, sold and/or supplied, either directly or

indirectly, to the Plaintiff, to the Plaintiff's employer, and/or to others for use on the jobsite

where Plaintiff performed his job duties, asbestos-containing products including, without

limitation, electrical products, plasters, and asbestos resins such as General Purpose Bakelite,

Heat Resistant Bakelite, High Impact Heat Resistant Bakelite, Bakelite Molding Compound.

This Defendant also sold and/or distributed bulk quantities of raw asbestos fibers mined from the

Calidria Mines to many of the defendants listed herein for incorporation into their asbestos-

containing products under various trade names.

                (q).    Defendant, UNITED TECHNOLOGIES CORPORATION, a Delaware

corporation, Individually and d/b/a PRATT & WHITNEY CO., INC., Individually and d/b/a

UTC AEROSCPACE SYSTEMS, manufactured, produced, distributed, sold and/or supplied,

either directly or indirectly, to the Plaintiff, to the Plaintiff's employer, and/or to others for use

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on the jobsite where Plaintiff performed his job duties, aircraft engines and/or associated systems

which incorporated and/or required the use of asbestos-containing products including, without

limitation, asbestos-containing gaskets, insulation, heat shields, raw asbestos, clamps and/or

packing.

                (r).    Defendant, WACO, INC., a corporation incorporated under the rules of

Virginia having its corporate offices at 814 Chapmari Way, Newport News, Virginia, and a

successor to WACO INSULATION, INC, sold, distributed and/or supplied, either directly or

indirectly, to the Plaintiff, to the Plaintiff's employer, and/or to others for use on the jobsite

where Plaintiff performed his job duties, various asbestos-containing products including, without

limitation, construction and/or repair products like pipecovering sections, block, cement and

textiles manufactured by different companies.

                (s).    Defendant WYETH HOLDINGS CORPORATION, as successor in

interest to AMERICAN CYANAMID COMPANY, a Maine corporation, sold, distributed and/or

supplied, either directly or indirectly, to the Plaintiff, to the Plaintiff's employer, and/or to others

for use on the jobsite where Plaintiff performed his job duties, adhesive film used on aircraft.

        9.      During Plaintiff's employment as described in paragraph No. 5 above, JAMES

EDWARD MOORE was exposed to and inhaled asbestos dust, fibers and/or particles generated

from the ordinary and foreseeable use of the asbestos-containing products as that term is defined

above manufactured, sold, supplied, distributed, incorporated, and/or otherwise placed in the

stream of commerce by the Defendants, which all proximately resulted in the Plaintiff

contracting malignant mesothelioma, which is permanent and/or fatal.



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                                   COUNT I - NEGLIGENCE

       10.      The Plaintiff hereby incorporates by reference Paragraphs One (1) through Ten

(10) inclusive, as if the same were hereto set forth at length.

       11.. At all times material hereto, the Plaintiff JAMES EDWARD MOORE was not

aware of the nature and extent of the danger to his respiratory system, heart, other bodily parts,

and general health that would result from his contact with, exposure to and inhalation of the

asbestos dust, fibers and/or particles resulting from the intended, ordinary and foreseeable use of

the Defendants' asbestos-containing products; whereas, each of the Defendants knew, had

reason to know, should have known and/or could have reasonably determined that the Plaintiff

JAMES EDWARD MOORE would inhale asbestos dust, fibers and/or particles during or as a

consequence of the intended, ordinary and foreseeable use of their asbestos-containing products,

and despite such facts, Defendants, individually, jointly, and severally were negligent in one or

more of the following respects:

                (a).   Mined, manufactured, sold, distributed, incorporated and/or otherwise

placed in the stream of commerce asbestos-containing products, which Defendants knew or in

the exercise of ordinary care should have known, and/or had reason to know, were imminently

and inherently dangerous, otherwise highly harmful and defective without a proper warning

calculated to reach the Plaintiff JAMES EDWARD MOORE and others) exposed to asbestos

dust, fibers and/or particles resulting from the intended, ordinary and foreseeable use of their

asbestos-containing products;

                (b).    Failed to take reasonable precautions or to exercise reasonable care to

adequately or sufficiently warn the Plaintiff JAMES EDWARD MOORE of the dangers and

harm to which he was exposed as a consequence of the inhalation of asbestos dust, fibers and/or

particles resulting from the intended, ordinary and foreseeable use of their asbestos-containing

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products;

               (c).    Failed and omitted to provide the Plaintiff JAMES EDWARD MOORE

with the knowledge of reasonably safe and sufficient safeguards, wearing apparel, proper safety
                                                                                                      1




equipment and appliances needed to protect him from being injured, disabled, killed, or

otherwise harmed by working with, using, handling, coming into contact with, and inhaling the

asbestos dust, fibers and/or particles resulting from the intended, ordinary and foreseeable use of

their asbestos-containing products;

               (d).    Failed to place any warnings or adequate and sufficient warnings on or

inside the containers of their asbestos-containing products and to suitably apprise the Plaintiff

JAMES EDWARD MOORE of the risks and dangers inherent in the intended, ordinary and

foreseeable use of their asbestos-containing products and the precautions necessafy to make their

asbestos-containing products safe for their intended, ordinary and foreseeable uses;

               (e).    Failed to place any warnings or adequate and sufficient warnings on or

inside the packaging of their asbestos-containing products, or otherwise, to inform the Plaintiff

JAMES EDWARD MOORE
                ~ or any foreseeable user, of the dangers inherent in the repair and
replacement of such asbestos-containing products, which repair and replacement foreseeably

required the removal of friable and inherently dangerous asbestos-containing products and

materials.

               (f).    Failed to place wamings, or adequate and sufficient warnings on or inside

the containers of their asbestos-containing products, or in technical manuals, drawings or

specifications supplied with their asbestos-containing products to inform the Plaintiff JAMES

EDWARD MOORE of the enhanced risk and dangers inherent in the intended, ordinary and

foreseeable use of their asbestos-containing products in the environment of industrial and/or

commercial activities where the Defendants knew, should have known and/or had reason to


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know that many other asbestos-containing products were also being dangerously and

simultaneously used without controls of safety procedures;

               (g).    Failed to adequately test their asbestos-containing products to determine

the nature and extent of the risk from the foreseeable use, maintenance, repair and/or removal of

their products and the need for warnings and recommended safety instructions to eliminate or

reduce that risk;

               (h).    Failed to advise the Plaintiff JAMES EDWARD MOORE, whom the

Defendants knew, should have known, and/or had reason to know, was exposed to asbestos dust,

fibers and/or particles resulting from the intended, ordinary and foreseeable use of their asbestos-

containing products, to cease all future exposure to asbestos dust, fibers and/or particles, to be

examined by a lung specialist to determine the nature and extent of any and all asbestos diseases

caused by such exposure, and to receive treatment for such diseases.

       12..    Such negligent and deliberate acts of the Defendants proximately resulted in the

Plaintiff's long-term inhalation of asbestos dust, fibers and/or particles from the intended,

ordinary and foreseeable use of Defendants' asbestos-containing products, including the routine,

recommended and expected maintenance of the Defendants' asbestos-containing products, and

this exposure directly and proximately caused the Plaintiff JAMES EDWARD MOORE to

contract malignant mesothelioma, which is permanent and/or fatal.

       13..    The Defendants' foregoing acts, failures and/or omissions were willful or wanton

in nature, were undertaken with actual or constructive knowledge that injury would result, and/or

were accomplished with such recklessness as to evince a conscious disregard for the health,

safety, and rights of JAMES EDWARD MOORE.



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                           COUNT II - BREACH OF IMPLIED WARRANTY

           14..    The Plaintiff hereby incorporates by reference Paragraphs One (1) through

    Fourteen (14) inclusive, as if the same were hereto set forth at length.

           15..    Defendants impliedly warranted that their asbestos-containing products were

    reasonably fit for use and safe for their intended purposes.

           16.     At the time of the manufacture, incorporation and/or sale of their asbestos-

    containing products to the to the Plaintiff, to the Plaintiff's employer, and/or to others for use on

    the jobsite where Plaintiff performed his job duties, the.Defendants knew, should have known

    and/or had reason to know, that JAMES EDWARD MOORE, was a person whom the

    Defendants might reasonably have expected to use, consume, or by affected by their asbestos-

.   containing products.

            17.     Throughout the years that the Plaintiff JAMES EDWARD MOORE was exposed

    to Defendants' asbestos-containing products, the Defendants expected that their asbestos-

    containing products would reach, and they in fact did reach, the ultimate user or consumer

    without substantial change in the condition in which they were sold.

            18.     The Defendants' asbestos-containing products were sold in a defective condition

    in that they were incapable of being made safe for their intended, ordinary and foreseeable use,

    and said Defendants failed to give adequate or sufficient warnings or instructions about the

    unreasonable risks and dangers inherent in their asbestos-containing products.

            19.     Defendants breached said warranties to-the Plaintiff JAMES EDWARD MOORE

    in that their asbestos-containing products were imminently and inherently dangerous, defective,

    hazardous, unfit for use, not properly merchantable, and not safe for their intended, ordinary and

    foreseeable uses and purposes and such breaches proximately resulted in the Plaintiff JAMES

    EDWARD MOORE contracting malignant mesothelioma, which is permanent and/or fatal.

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       20.     The Defendants' foregoing acts, failures and/or omissions were willful or wanton

in nature, were undertaken with actual or constructive knowledge that injury would result, and/or

were accomplished with such recklessness as to evince a conscious disregard for the health,

safety, and rights of JAMES EDWARD MOORE.




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                                            COUNT III — CONSPIRACY

              21.     The Plaintiff hereby incorporates by reference Paragraphs One (1) through

      Twenty-One (21), inclusive, as if the same were hereto set forth at length.

              22.     Defendants, and Metropolitan Life Insurance Company, individually, jointly, in

      conspiracy with each other, and as an industrial and trade association or group for many decades

      have been possessed of inedical and scientific data which clearly indicated that the inhalation of

'     asbestos dust and fibers resulting from the intended, ordinary and foreseeable use of their

      asbestos-containing products were imminently, inherently and unreasonably dangerous,

      carcinogenic, and potentially deadly.

              23..    Despite the medical and scientific data possessed by and available to them, the-

    _ Defendants, prompted by pecuniary motives, individually, jointly, and in conspiracy with each

      other, fraudulently, willfully, deliberately, maliciously and callously:

                      (a).    Ignored, withheld, and/or actively concealed said medical and scientific

      data from the public, and particularly persons like the Plaintiff JAMES EDWARD MOORE,

      who were using and/or being exposed to their asbestos-containing products and to the inhalation

      of the asbestos dust and fibers resulting from the intended, ordinary and foreseeable use of their

      asbestos-containing products;

                      (b).    Caused to be released, published, and/or disseminated data and reports

      containing the dangers of their asbestos-containing products, which data and reports they knew,

      should have known, had reason to know, and/or could have reasonably been determined to be

      incorrect, incomplete, outdated, and misleading;

                      (c).    Deliberately chose to provide patently inadequate and ambiguous

      warnings and intentionally failed to warn of the known dangers when finally, compelled by the

       state of inedical art to provide notice of the dangers of their asbestos-containing products and the


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. inhalation of asbestos dust and fibers resulting from the intended, ordinary and foreseeable use of

 their asbestos-containing products;

                 (d).   Distorted, and/or caused to be misdiagnosed, the results of inedical

 examinations conducted upon persons and workers like the Plaintiff JAMES EDWARD

 MOORE who were using and handling said asbestos-containing products and being exposed to

 the inhalation of asbestos dust and fibers resulting from the intended, ordinary and foreseeable

 use of their asbestos-containing products; and

                 (e).   Refused and failed to test their asbestos-containing products, and/or tested

 their asbestos-containing products and willfully concealed or refused to publish adverse test

 results, or distorted said adverse test results so that the public persons such as the Plaintiff

 JAMES EDWARD MOORE were misled into believing the test results were not adverse.

         24.     Defendants, individually, jointly, and in conspiracy with each other, participated

 in the fraudulent scheme described in Paragraphs Twenty-Three and Twenty-Four (23 & 24)

 above, to keep the Plaintiff JAMES EDWARD MOORE in ignorance of his rights by

 fraudulently concealing the nature and extent of the harm which he has suffered as a result of

 using and being exposed to the Defendants' asbestos-containing products and by fraudulently

 concealing that this harm was the direct and proximate result of the occupational use and

 exposure to the Defendants' asbestos-containing products and the inhalation of asbestos dust and

 fibers resulting from the intended, ordinary and foreseeable use of said asbestos-containing

 products, and, in fact, said fraudulent scheme did keep the Plaintiff JAMES EDWARD MOORE

 in ignorance of his rights.

         25.     Defendants, individually, jointly, and in conspiracy with each other intended, by

 the fraudulent misrepresentations and omissions as set forth in Paragraphs Twenty-Three and

 Twenty-Four (23 & 24) above, to induce the Plaintiff JAMES EDWARD MOORE to rely upon

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    said fraudulent misrepresentations and omissions and to continue to expose himself to the

    dangers that the Defendants knew to be inherent in the use of and exposure to their asbestos-

    containing products and the inhalation of the asbestos dust and fibers resulting from the intended,

    ordinary and foreseeable use of said asbestos-containing products without warning to the

    Plaintiff JAMES EDWARD MOORE of these dangers, thereby depriving him of the opportunity

    of informed free choice as to whether to continue to use such asbestos-containing products and to

    expose himself to these dangers.

           26.     Defendants, individually, jointly, in conspiracy with each other, and through trade

    associations in which they were members, maliciously, willfully, callously, and deliberately:

                   (a).    Exposed and continued to expose the Plaintiff JAMES EDWARD

.   MOORE to the risks and dangers of asbestosis, mesothelioma, scarred lungs, cancer, and other

    illnesses and damage to various organs of the body, including injury to tissue and bone, all of

    which risks Defendants knew, should have known, had reason to know and/or could have

    reasonably determined;

                   (b).    Failed to test and continue to test their asbestos-containing products

    regarding the risks and dangers to persons who use or were exposed to their asbestos-containing

    products and the inhalation of the asbestos dust and fibers resulting from the intended, ordinary

    and foreseeable use of said asbestos-containing products;

                   (c).    Ignored medical and scientific data regarding the risks of asbestosis,

    scarred lungs, cancer, mesothelioma, and other illnesses to workers like the Plaintiff JAMES

    EDWARD MOORE who used or were exposed to their asbestos-containing products and the

    inhalation of the asbestos dust and fibers resulting from the intended, ordinary and foreseeable

    use of said asbestos-containing products;

                   (d).    Sought methods to ignore or defeat Workmen's Compensation and other

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    claims of workers like the Plaintiff who suffered from illnesses or diseases from use of or

    exposure to their asbestos-containing products and the inhalation of the asbestos dust and fibers

    resulting from the intended, ordinary and foreseeable use of said asbestos-containing products;

                   (e).    Attempted to discredit scientists, doctors, writers, and medical literature

    who or which indicated, demonstrated, or established a relationship between illness and disease

    from the use of and exposure to their asbestos-containing products and the inhalation of the

    asbestos dust and fibers resulting from the intended, ordinary and foreseeable use of said

    asbestos-containing products;

                   (f).    Refused to conduct research on the relationship between asbestos

    exposure and disease because pecuniary motives of profit were followed at the expense of human

.   lives;

                   (g).    Sought to create favorable publicity about asbestos-containing products

    for pecuniary motives when they knew of their risks and dangers;

                   (h).    Failed to seek safe substitute products for asbestos for pecuniary motives

    of profit at the expense of human lives;

                   (i).    Misled the public and workers such as the Plaintiff who used or were

    exposed to their asbestos-containing products and indicated that their asbestos-containing

    products were safe in their intended, ordinary and foreseeable uses;

                   (j):    Concealed the existence of tests, data, literature, and medical reports

    regarding the causal relationship of asbestos to cancer, mesothelioma, scarred lungs, asbestosis,

    respiratory disorders and other illnesses;

                   (k).    Refused to authorize testing and research involving the relationship of

    illness and disease to exposure to, use of, and inhalation of the asbestos dust and fibers resulting

    from the intended, ordinary and foreseeable use of their asbestos-containing products fearing

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adverse publicity would affect the highly profitable market of asbestos sales;

                (1).   Chose to rely on inaccurate or insufficient medical and scientific research

or data regarding the causal relationship between asbestos-containing products and disease in

order to avoid any possible adverse publicity that would affect sales of their asbestos-containing

products; and

                (m). Failed to place adequate or proper warnings on their asbestos-containing

products fearing that such warnings would adversely affect sales.

       27.      Defendants as specifically identified below, individually and as agents of one

another and as co-conspirators, agreed and conspired among themselves and with other asbestos

manufacturers and distributors to injure JAMES EDWARD MOORE in the following fashion:

                (a). Beginning in approximately 1934, conspirator Johns-Manville

Corporation, through its agents, Vandiver Brown and attorney J.C. Hobart, and conspirator

Raybestos-Manhattan, through its agents, Sumner Simpson and J. Rohrbach; suggested to Dr

Anthony Lanza, Associate Director, Metropolitan Life Insurance Company (insurers of Manville

and Raybestos), that Lanza publish a study on asbestosis in which Lanza would affirmatively

misrepresent a material fact about asbestos exposure: that is, the seriousness of the disease

process, asbestosis. This was accomplished through intentional deletion of Lanza's description

of asbestosis as "fatal" and through other selective editing that affirmatively misrepresented

asbestosis as a disease process less serious than it actually is and was known to be then. As a

result, Lanza's study was published in the medical literature in this misleading fashion in 1935.

The conspirators were motivated, in part, to effectuate this fraudulent misrepresentation and

fraudulent nondisclosure by the desire to influence proposed legislation to regulate asbestos

exposure and to provide a defense in lawsuits involving Manville, Raybestos and Metropolitan

Life, as insurer;

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               (b).     In 1936, conspirators American Brake Block Corporation, Asbestos

Manufacturing Company, Gatke Corporation, Johns-Manville Corporation, Keasby & Mattison

Company (then an alter ego to conspirator Turner & Newall), Raybestos-Manhattan, Russell

Manufacturing (whose liabilities have been assumed by H.K. Porter Company), Union Asbestos

and Rubber Company and United States Gypsum Company, entered into an agreement with the

Saranac Laboratories. Under this agreement, these conspirators acquired the power to decide

what information Saranac Laboratories could publish about asbestos disease and could also

control in what form such publications were to occur. This agreement gave these conspirators

power to affirmatively misrepresent the results of the work at Saranac, and also gave these

conspirators power to suppress material facts included in any study. On numerous occasions

thereafter, the conspirators exercised their power to prevent Saranac scientists from disclosing

material scientific data, resulting in numerous misstatemeiits of fact being made at scientific

meetings;

                (c).    On November 11, 1948, representatives of the following conspirators met

at the headquarters of Johns-Manville Corporation: American Brake Block Division of

American Brake and Shoe Foundry, Gatke Corporation, Keasby & Mattison Company (then an

alter ego to, conspirator Turner & Newall), Raybestos-Manhattan, Inc., Thermoid Company

(whose assets and liabilities were later purchased by H.K. Porter Company), Union Asbestos and

Rubber Company and United States Gypsum Company. U.S. Gypsum did not send a

representative to the meeting, but instead authorized Vandiver Brown of Johns-Manville to

represent its interest at the meeting and to take action on its behalf;

                (d).    At this November 11, 1948 meeting, these Defendants and their

representatives decided to exert their influence to materially alter and misrepresent material facts

about the substance of research started by Dr. Leroy Gardner at the Saranac Laboratories

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  beginning in 1936. Dr. Gardner's research involved the carcinogenicity of asbestos in mice and

  also included an evaluation of the health effects of asbestos on humans with a critical review of

  the then-existing standards of dust exposure for asbestos and asbestos-containing products;

                 (e).    At this meeting, these Defendants intentionally and affirmatively

  determined that Dr. Gardner's work should be edited to specifically delete material facts about

  the cancer-causing propensity of asbestos and the health effects of asbestos on humans and the

  critique of the dust standards and then published same in the medical literature as edited by Dr.

  Vorwald. These Defendants thereby fraudulently misrepresented the risks of asbestos exposure

  to the public, in general, and the class of persons exposed to asbestos, including the Plaintiff;

                 (f).    As a direct result of influence exerted by the above-described conspirators,

. Dr. Vorwald published Dr. Gardner's edited work in the Journal of Industrial Hyjziene,

  AMA Archives of Industrial Hygiene and Occupational Health in 1951 in a form that stressed

  those portions of Dr. Gardner's work that the conspirators" wished stressed, but which omitted

  references to human asbestosis and cancer, thereby fraudulently and affirmatively

  misrepresenting the extent of the risks. The conspirators affirmatively and deliberately

  disseminated this misleading Vorwald publication to university libraries, government officials,

  agencies and others;

                  (g).    Such action constituted a material affirmative misrepresentation of the

  total context of material facts involved in Dr. Gardner's work and resulted in creating an

  appearance that inhalation of asbestos was less of a health problem than Dr. Gardner's unedited

  work indicated;

                  (h).   The following conspirators were members of the trade association known

  as Quebec Asbestos Mining Association (Q.A.M.A.): Johns-Manville Corporation, Carey-

  Canada, individually and as successor to Quebec Asbestos Corporation, the Celotex Corporation,

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successor to Quebec Asbestos Corporation, the National Gypsum Company, and Turner &

Newall, individually and successor to Bell Asbestos. These conspirators, members of Q.A.M.A.,

participated in the above-described misrepresentation of the work of Dr. Leroy Gardner
                                                                            ,
published by Arthur Vorwald in the AMA Archives of Industrial Health in 1951. Evidence of

the Q.A.M.A.'s involvement in this misrepresentation arises from co-conspirator Johns-

Manville's membership in the Q.A.M.A., as well as correspondence from co-conspirators dated

10/29/47, 11/26/47, 3/6/48, 10/15/48, 3/8/49, 9/6/50, and 3/21/51, and all indicating close

monitoring of the editing process of Q.A.M.A.'s representative, Ivan Sabourin, acting on behalf

of all Q.A.M.A. members;

               (i).    Defendants who were members of the Q.A.M.A. as described above,

began in or about 1950 to formulate a plan to influence public opinion about the relationship

between asbestos and cancer by influencing the medical literature on this subject and then

touting and disseminating this literature to the public and to organizations and legislative bodies

responsible for regulatory control of asbestos with the specific intent of misrepresenting the

existing scientific information and suppressing contrary scientific data in their possession and

control;

               (j).    This plan of misrepresentation and influence over the medical literature

began on or about 1950 when the aforementioned Q.A.M.A. members selected Saranac

Laboratories to do an evaluation of whether cancer was related to asbestos. After a preliminary

report authored by Arthur Vorwald in 1952 indicated that a cancer/asbestos relationship might

exist in experimental animals, these Q.A.M.A. members refused to further fund the study and it

was terminated and never publicly discussed;

               (k).    As a result of the termination of this study, these Defendants fraudulently

withheld information from the public and affirmatively misrepresented to the public a'nd

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responsible legislative and regulatory bodies that asbestos did not cause cancer, including

affirmative misrepresentations by conspirators' agents K.W. Smith, M.D., Paul Cartier, M.D.,

A.J. Vorwald, M.D., A.J. Lanza, M.D., Vandiver Brown and Ivan Sabourin, said

rnisrepresentations being directed to inter alia, U.S. goverrunent officials, Canadian government

officials, U.S. National Cancer Institute, other medical organizations and the general public,

including the Plaintiff;

                  (1).   Subsequently, the Q.A.M.A. Defendant conspirators contracted with the

Industrial Hygiene Foundation and Dr. Daniel Braun to further study the relationship between

asbestos exposure, asbestosis and lung cancer. In 1957, Drs. Braun and Truan reported to the

Q.A.M.A. that asbestosis did increase a worker's chances of incurring lung cancer;

                  (m).   The Q.A.M.A. Defendant conspirators/members thereafter caused, in

1958, a publication of the work by Braun and Truan in which the findings regarding increased

incidence of cancer in persons with asbestosis was edited out by agents of the Q.A.M.A. The

published version of this study contained a conclusion that asbestos exposure, alone, did not
                                                                                                     r
increase the incidence of lung cancer, a conclusion known by the Defendant conspirators to be

patently false;

                  (n).   By falsifying and causing publication of studies concluding that asbestos

exposure did not cause lung cancer and simultaneously omitting a documented finding that

asbestosis did increase the risk of lung cancer, these Q.A.M.A. Defendant conspirators

affirmatively misrepresented to the public and concealed from the public the extent of risks

associated with inhalation of asbestos fibers;

                  (o).   In approximately 1958, these Q.A.M.A. Defendant conspirators publicized

the edited works of Drs. Braun and Truan at a symposium in an effort to fraudulently

misrepresent to the public and'persons exposed to asbestos that the inhalation of asbestos dust

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,
    would not cause cancer;

                   (p).    The fraudulent misrepresentations beginning in 1946 as elaborated above

    and continuing with the publication of the 1958 Braun/Truan Study influenced the standards set

    for threshold limit values for development of such standards to fail to lower the threshold limit

    value because of a cancer risk associated with asbestos inhalation;

                   (q).    In 1967, Q.A.M.A. Conspirators determined at their trade association

    meeting that they would intentionally mislead consumers about the extent of risks involved in

    inhalation of asbestos-containing products;

                   (r).    In 1952, a symposium regarding the health effects of asbestos was held at

    the Saranac Laboratories. The following conspirators were in attendance: Johns-Manville,

    Turner & Newall, Raybestos-Manhattan, and Q.A.M.A. members by way of their agents, Cartier,

    Sabourin and LaChance;

                   (s).    At this meeting, the occurrence of lung cancer and asbestosis in product

    users was discussed and the carcinogenic property of all fiber types of asbestos was also

    discussed. In an affirmative attempt to mislead the public about the extent of health risks

    associated with asbestos, and in an effort to fraudulently conceal those risks fiom the public,

    these Defendants conspired to prevent publication of the record of this 1952 Saranac Symposium

    and it was not published. In addition, the conspirators induced Vorwald not to announce the

    results of his and Gardner's animal studies showing excess cancers in animals which thereby

    fraudulently misrepresented existing secret data which could not be publicized owing to the

    secrecy provisions contained in the 1936 Saranac agreement heretofore described;

                   (t).    The following conspirators were members of the Magnesia lnsulation

    Manufacturers Association: Philip-Carey Corporation (predecessor to Celotex) and Johns-

    Manville;

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               (u).   In 1955, these conspirators caused to be published the MIMA 85%

Magnesia lnsulation Manual. This manual falsely and fraudulently misrepresented that asbestos-

containing products offered no hazard to workers who used these products;

               (v).   The following conspirators were members of the trade organization known

as the Asbestos Textile Institute (ATI): Raybestos-Manhattan, Johns-Manville, H.K. Porter,

Keasby & Mattison, individually and through its alter ego Turner & Newall, and National

Gypsum;

               (w).   In 1947, these conspirators, members of the ATI, received a report from

W.C.L. Hemeon regarding asbestosis which suggested re-evaluation of the then-existing

threshold limit values for asbestos exposure. These Defendants caused this report not to be

published and thereby fraudulently concealed material facts about asbestos exposure from the

public and affirmatively misrepresented to the public and class of persons exposed to asbestos

that the existing threshold limit value was acceptable. Thereafter, these Defendant conspirators

withheld additional material information on the dust standards from the American Conference of

Governmental Industrial Hygienists (ACGIH), thereby further influencing evaluations of

threshold limit values for asbestos exposure;

               (x).    In 1953, conspirator National Gypsum, through its agents, in response to

an inquiry from the Indiana Division of Industrial Hygiene regarding health hazards of asbestos

spray products, refused to mail a proposed response to that division indicating that respirators

should be worn by applicators of the products. National Gypsum's response distorted and

fraudulently misrepresented the need for applicators of asbestos spray products to wear

respirators and fraudulently concealed from such applicators the need for respirators;

               (y).    In 1955, conspirator Johns-Manville, through its agent Kenneth Smith,

caused to be published in AMA Archives of Industrial Health, an article entitled "Pulmonary

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Disability in Asbestos Workers". This published study materially altered the results of an earlier

study in 1949 concerning the same set of workers. This alteration of Dr. Smith's study

constituted a fraudulent and material misrepresentation about the extent of the risk associated

with asbestos inhalation;

               (z).    In 1955, the National Cancer Institute held a meeting at which conspirator

Johns-Manville, individually and as an agent for other alleged co-conspirators and A. Vorwald,

as agent of co-conspirators, affirmatively misrepresented that there were no existing animal

studies concerning the relationship between asbestos exposure and cancer, when, in fact, the

conspirators were in secret possession of several studies which demonstrated that positive

evidence did exist;

               (aa). In 1957, these conspirators, members of the ATI, jointly rejected a

proposed research study on cancer and asbestos and this resulted in fraudulently concealing from

the public material facts regarding asbestos exposure and also constituted an affirmative

misrepresentation of then-existing knowledge about asbestos exposure and lung cancer;

               (bb). In 1964, conspirators who were members of the ATI met to formulate a

plan for rebutting the association between lung cancer and asbestos exposure that had been

recently discussed by Dr. Irving J. Selikoff. Thereafter, these members of the ATI embarked

upon a campaign to further misrepresent the association between asbestos exposure and lung

cancer;

               (cc). In 1970, through their agents, Defendants. the Celotex Corporation and

Carey-Canada affirmatively misrepresented that they had been in the asbestos business since

1918 and found no reported conditions of asbestosis or lung disease. This constituted a

fraudulent misrepresentation about the material facts known to these Defendants; and

               (dd). All conspirators identified above approved and ratified and furthered the


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     previous conspiratorial acts of conspirators Johns-Manville, Raybestos Manhattan and A.J.

     Lanza, acting on behalf of Metropolitan Life Insurance Company, and all alleged co-conspirators

     during the dates and circumstances alleged above acted as agents and co-conspirators for the

     other conspirators.

            28.     All conspirators identified above are liable for civil aiding and abetting in that

     they failed to warn the Plaintiff JAMES EDWARD MOORE of the dangers of exposure to
                                                                                ~
     asbestos while acting in concert with one another and/or pursuant to a common plan to actively

     conceal such dangers and the conspirators knew that their conduct would result in the Plaintiff

     JAMES EDWARD MOORE breathing asbestos dust, fibers and/or particles without the

     knowledge that such exposure could foreseeably result in harm.

            29.     The Plaintiff reasonably and in good faith relied upon the fraudulent

     misrepresentations, omissions, and concealments made by the Defendants individually, jointly,

     and in conspiracy with each other, regarding the safe nature of their asbestos-containing

     products, which reliance resulted in illness, injuries and ultimately may cause death to JAMES

..   EDWARD MOORE. Specifically:

                    (a).   The material published or caused to be published by the Defendants was
               r

     false and incomplete in that the Defendants knowingly and deliberately deleted references to the

     known health hazards of asbestos and asbestos-containing products;

                    (b).   The Defendants individually, as members of a conspiracy, and as agents of

     other co-conspirators, intended that the publication of false and misleading reports and/or the

     nondisclosure of documented reports of the health hazards of asbestos;

                           (1).    maintain a favorable atmosphere for the continued sale and

     distribution of asbestos and asbestos-containing products;

                           (2).    assist in the continued pecuniary gain of.the Defendants through


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the sale of their products;

                          (3).   influence in the Defendants' favor proposed legislation to regulate

asbestos exposure; and

                          (4).   provide a defense in law suits brought for injury resulting from

asbestos disease.

                (c).      The Plaintiff JAMES EDWARD MOORE reasonably relied upon the

published medical and scientific data documenting the purported safety of asbestos and asbestos-

containing products, and the absence of published medical and scientific reports on the hazards

of asbestos and asbestos-containing products to continue him exposure to asbestos because he

believed it to be safe;

                (d).      The Defendants individually, as members of a conspiracy, and as agents of

other co-conspirators intended that the Plaintiff JAMES EDWARD MOORE rely upon the

published reports regarding the safety of asbestos and asbestos-containing products and upon the

absence of published medical and scientific data regarding the hazards of asbestos and asbestos-

containing products, to continue his exposure to those products;

                (e).      The Defendants individually, as members of a conspiracy, and as agents of

other co-conspirators were and are in a position of superior knowledge regarding the health

hazards of asbestos and therefore the Plaintiff JAMES EDWARD MOORE had a right to rely on

the published reports commissioned by the Defendants regarding the health hazards of asbestos

and the absence of published medical and scientific data regarding the hazards of asbestos and

asbestos-containing products; and

                (f).      As a direct and proximate result of the acts alleged herein the Plaintiff

JAMES EDWARD MOORE suffers damages as described in Court IV.

        30.     The Defendants' foregoing acts, failures and/or omissions were willful or wanton

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in nature, were undertaken with actual or constructive knowledge that injury would result, and/or

were accomplished with such recklessness as to evince a conscious disregard for the health,

safety, and rights of JAMES EDWARD MOORE.




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                                      COUNT IV - CONCLUSION

           31.     The Plaintiff hereby incorporates by reference Paragraphs One (1) through Thirry-

    One (31), inclusive, as if the same were hereto set forth at length.

           32.     As a direct and proximate result of the negligence, carelessness, gross negligence,

    willful misconduct, breach of warranty, fraudulent concealment, misrepresentations and willful

    omissions of the Defendants, the Plaintiff JAMES EDWARD MOORE was caused to contract

    malignant mesothelioma which have caused JAMES EDWARD MOORE pain, suffering, mental

    anguish and ultimately may cause his death. In addition, JAMES EDWARD MOORE:

                   (a).    Has been obliged to spend various sums of money to treat his diseases and

    injuries; and may be obliged to continue to do so in the future;

                   (b).    Has sustained a loss of earnings and earning capacity;
0



.                  (c).    Has had his enjoyment of life impaired;

                   (d).    Has had his life expectancy shortened; and

                   (e).    Has been caused to suffer great psychic trauma including cancer phobia.

           33.      Any delay in filing the Plaintiff's causes of action is a direct and proximate result

    of the Defendants' failure to warn the fraudulent concealment hereinafter described.

                   (a).    For a long time, the Defendants have known of the hazards of asbestos

    inhalation and ingestion and had the duty to warn foreseeable users like the Plaintiff and/or

    others similarly employed, of the hazards of their asbestos products. However, the Defendants

    intentionally and fraudulently concealed said knowledge from the Plaintiff and/or others

    similarly employed resulting in the failure of the Plaintiff to discover the facts which are the

    basis of his causes of action despite the exercise of due diligence on behalf of the Plaintiff.

    Accordingly, any attempt on the part of any Defendant to complain about the timeliness of the

    commencement of Plaintiff's causes of action should be estopped.

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           WHEREFORE, Plaintiff prays for judgment against the Defendants, individually and

   jointly and severally, for compensatory damages in the sum of TWENTY MILLION DOLLARS

   ($20,000,000.00) and punitive damages in the sum of THREE HUNDRED FIFTY THOUSAND

   DOLLARS ($350,000.00), together with interest from the date of diagnosis of asbestos-induced

   disease plus costs of this suit and such other and further relief as is just and proper.

                                                          Respectfully submitted,



                                                                             ~



                                                          By-
                                                                          Of Cou el



 ~ Robert R. Hatten, Esquire (VSB No. 12854)
    Donald N. Patten, Esquire (VSB No. 06869)
' Hugh B. McCormick, III, Esquire (VSB No. 37513)
    William W. C. Harty, Esquire (VSB No. 45447)
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                 PLAINTIFF DEMANDS A JURY WITH RESPECT TO ALL ISSUES
                  TO WHICH HE IS ENTITLED BY LAW TO A JURY.




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